            Case 1:11-cr-00274-LJO Document 157 Filed 11/30/12 Page 1 of 6



                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
                                                                              FILED
                                                                                  NOva 02012
                                   MEMORANDUM


Honorable Lawrence J. O'Neill
United States District Judge
Fresno, California

     "'~.                                  RE:    ANDRADE, Armando
                                                  Docket Number: 1: 11 CR00274-09 LJO               ~
                                                  ORDER FOR RECONVEYANCE OF U.S.
                                                  PASSPORT

Your Honor:                               #VlJ'CO P~g f~ Off1!J071./f"bLj   JJ-
The probationer was authorized travel t~exico on November 6,2012, by Your Honor.
At this time he is seeking to obtain his U.l. Passport from the Court Clerk's office for same.
As a result, a court order is required. Mr. Andrade will be traveling to Mexico by vehicle on
December 20, 2012, for approximately 4 weeks, to visit his ailing mother. As he has been
previously approved to do so, it is the request of the U.S. Probation Office that his U.S.
Passport be reconveyed to him via Your Honor's order.


                                  Respectfully Submitted,


                              ~~'OJ-V
                                  Robert A. Ramirez
                      Supervisory United States Probation Officer


DATED:          November 30,2012
                Fresno, California




                                                                                     Rev. 0512006
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        Case 1:11-cr-00274-LJO Document 157 Filed 11/30/12 Page 3 of 6



RE:    ANDRADE, Armando
       Docket Number: 1:11CR00274-09 LJO
       PERMISSION TO RECONVEY U.S. PASSPORT




ORDER OF THE COURT:                             "A
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It is hereby ordered that Mr. Armando Andrade's U.S. Passport be returned to him.

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Approved _ _ __ _ _ _ __                      Disapproved _ _ _ _ _ _ __


           /1- 21-2()                           ~"~'-~
Date                                          La ::~I
                                              United States District Judge




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• LIVE 5.1.1 CMIECF - U.S. District Court for Eastern California-Display Receipt              Page 1 of2
              Case 1:11-cr-00274-LJO Document 157 Filed 11/30/12 Page 5 of 6


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  --Non Case Participants:
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  COLLATERAL RECEIVED as to Armando Treyes Andrade: Mexican Passport from
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Case 1:11-cr-00274-LJO Document 157 Filed 11/30/12 Page 6 of 6
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